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                EXHIBIT A
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From: Buie, Alan (USATXW) <Alan.Buie@usdoj.gov>
Sent: Friday, February 2, 2024 4:20 PM
To: Gerry Morris <egm@egmlaw.com>
Cc: Latcovich, Simon <SLatcovich@wc.com>; Looby, Patrick <PLooby@wc.com>
Subject: RE: follow up correspondence

A few more updates:
   • The bank records are NOT going to fit on the 64GB USB drive that we have now, so you
      might as well go ahead and retrieve that drive whenever you’re ready. It contains the
      Access database that contains the bank data.
   • I’m still collecting bank records. When I know the total volume of all of them, I’ll be in
      touch about hardware for delivery.
   • LTSC has reviewed the work order, and they’re estimating 60 days for exporting the
      Relativity database. Copying what they produce onto your hardware will take additional
      days beyond those 60 days. We do not yet know what size drive we will need for
      delivery of the database, but I’ll let you know as soon as I know.
   • Our Relativity database contains natives and text files for all items, and images for most
      items. Images for about 470,000 items are not included, because those image files
      exceeded the limit on the size of database that LTSC was able to host. According to our
      Lit Support people, you will be able to generate the images once you receive the
      Relativity database, but we do not have them in our database. We have the image files
      and would be happy to provide them, but our Lit Support folks say that marrying them
      with the corresponding natives and text files in the Relativity database is not possible.
   • I’ve spoken with our case agent about the CHS-related material that you requested, and
      he is not aware of a document fitting the description that I conveyed to him based on my
      last conversation with you. Let’s talk about this again next time we’re on the phone, and
      I’ll keep working on it.

From: Gerry Morris <egm@egmlaw.com>
Sent: Wednesday, January 31, 2024 5:32 PM
To: Buie, Alan (USATXW) <ABuie@usa.doj.gov>
Cc: Latcovich, Simon <SLatcovich@wc.com>; plooby@wc.com
Subject: [EXTERNAL] RE: follow up correspondence

I(‘ll get one to you next week.

From: Buie, Alan (USATXW) <Alan.Buie@usdoj.gov>
Sent: Wednesday, January 31, 2024 2:37 PM
To: Gerry Morris <egm@egmlaw.com>
Cc: Latcovich, Simon <SLatcovich@wc.com>; plooby@wc.com
Subject: RE: follow up correspondence

BTW, I’ll need at least a 500 GB drive to hold the copy of the Western Digital My Passport
UltraStorage Device.
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From: Gerry Morris <egm@egmlaw.com>
Sent: Wednesday, January 31, 2024 12:34 PM
To: Buie, Alan (USATXW) <ABuie@usa.doj.gov>
Cc: Latcovich, Simon <SLatcovich@wc.com>; plooby@wc.com
Subject: [EXTERNAL] RE: follow up correspondence

We would like a forensic copy of the device. I’ll be out of town tomorrow and Monday, so no
big rush on the financial records.

From: Buie, Alan (USATXW) <Alan.Buie@usdoj.gov>
Sent: Wednesday, January 31, 2024 11:35 AM
To: Gerry Morris <egm@egmlaw.com>
Cc: Latcovich, Simon <SLatcovich@wc.com>; plooby@wc.com
Subject: RE: follow up correspondence

Gerry, I received a question about the Western Digital My Passport UltraStorage Device: do
you want a forensic copy of the device (including all of its contents), or just a copy of the
files stored on it? Please let me know, and then I can tell you what size drive I need to borrow
from you to deliver the data.

Also, a couple updates:
   • Right after we talked Monday afternoon, we placed the order with LTSC to deliver a
        copy of the Relativity database. Once they study the order, they usually give us an
        estimate of the turnaround time, but that usually doesn’t happen the same day. We’re
        still waiting.
   • I’ve been working on making a copy of all of the financial records for you. The
        computer ran until late Monday night copying one set, and it ran all day yesterday
        copying another set. So it’s a slow process, but I’m making headway and hoping to have
        it done this week.

From: Buie, Alan (USATXW) <ABuie@usa.doj.gov>
Sent: Friday, January 26, 2024 6:34 PM
To: Gerry Morris <egm@egmlaw.com>
Cc: Latcovich, Simon <SLatcovich@wc.com>; plooby@wc.com; Buie, Alan (USATXW)
<ABuie@usa.doj.gov>
Subject: RE: follow up correspondence

Jerry, thanks for your letter. I flew back into Austin last night and then spent most of today in a
meeting on another matter, or I would have provided a detailed response to your letter sooner.

Also, thanks for dropping off the 64GB USB drive today. Before I left town earlier in the week,
I had prepared a discovery production for our staff to load up while I was gone if we received
your drive (“the January 22 Production”), and that production includes some of the items listed
in your letter. So I’m attaching here a draft of the transmittal letter that I prepared for the
January 22 Production, describing what it contains. (A final, signed copy of the letter will go out
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with the production.) I’m hoping it will be loaded and ready to go out Monday 29 January, but
that’s hard to predict.

Concerning the specific items in your letter: below in the left-hand column are the bullet-point
items from your letter; in the middle column in blue are my comments regarding the status of the
items; and in the right-hand column in green are any questions that I need your input on before I
can move forward with production of the items.

 Item from Morris Letter Status                                     Questions for Morris

 The Access database         This Access database is part of the None
 containing information      January 22 Production that we
 derived from bank           plan to load Monday. (FYI, 700
 statements for more than    is a very rough number of bank
 700 bank accounts           accounts that I heard from the
                             lead case agent at one point, not a
                             number that the accountants have
                             given me. You will receive an
                             inventory that lists the accounts.)

 The raw bank statements     Over the weekend or early next         None
 from the more than 700      week, I will collect all of the bank
 accounts that were used     records in preparation for
 to populate the Access      delivering them. Until I do that, I
 database                    won’t know whether they will fit
                             on the USB drive that you
                             dropped off today, or how long
                             loading them will take. So I don’t
                             yet know whether I will delay
                             delivering the January 22
                             Production until I can send the
                             bank records out at the same time
                             on the same USB drive.

 The documents the           Monday, or as soon thereafter as       Unless you and your
 government currently has    I get your input, I will ask our lit   colleagues prefer a different
 in Relativity format,       support people to place a work         approach, I will ask for
 which includes              order with LTSC for production         LTSC to produce only the
 somewhere between 4         of these files.                        files that they did not include
 and 4.5 million                                                    in the previous production,
 documents                                                          which you already
                                                                    have. The processing time
                                                                    for that effort will be less
                                                                    than if we were to include
                                                                    the files that LTSC delivered
                                                                    previously. If you prefer that
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                                                                      we request a production that
                                                                      includes what LTSC already
                                                                      produced, we can ask, but
                                                                      they may resist repeating that
                                                                      effort. Please let me know
                                                                      your preference.

 A copy (from the taint        I will find out Monday how much None
 team) of the Western          data this device contained, and let
 Digital My Passport           you know what size drive we will
 UltraStorage Device,          need from you for the copy. Once
 serial number WX1             I get your drive, I can send it to
 1A56A2KP2, which was          San Antonio and ask them to send
 the subject of the May 23,    it back to you with the files; so
 2019 search warrant           you won’t need to contact anyone
                               in the Filter Team about this.

 Any remaining grand jury      This is part of the January 22         None
 transcripts, including the    Production that we plan to load
 indictment presentation       Monday.

 Documentation regarding       I spoke to the case agent about        I need to discuss this with
 the FBI’s human source        this, and I can share some general     you before taking any further
                               observations, but need to discuss      steps. It won’t be a long
                               with you.                              discussion, so perhaps we
                                                                      can knock it out when Dan
                                                                      and I talk to you about
                                                                      schedule.

 Any remaining 302s,           This is part of the January 22         None
 notes, or other witness       Production that we plan to load
 materials                     Monday.


I hope the foregoing is at least reasonably clear. Please don’t hesitate to call me if any of it
requires explanation. Thanks.

Alan M. Buie
512.417.2901



From: Gerry Morris <egm@egmlaw.com>
Sent: Wednesday, January 24, 2024 11:28 AM
To: Buie, Alan (USATXW) <ABuie@usa.doj.gov>
Subject: [EXTERNAL] follow up correspondence
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Alan:

Attached is correspondence following up on our call last week. Do you have time for a call this
afternoon or tomorrow?

EGM
